










TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN




NO. 03-04-00618-CR




Jason Levar Gibson, Appellant

v.

The State of Texas, Appellee





FROM THE DISTRICT COURT OF TRAVIS COUNTY, 331ST JUDICIAL DISTRICT
NO. 3032574, HONORABLE FRED A. MOORE, JUDGE PRESIDING




O R D E R
PER CURIAM
The reporter’s record was originally due to be filed on November 9, 2004.  The court
reporter previously informed the Court that the record would be completed by March 7, 2005.  The
record has not been received and the reporter did not respond to the Clerk’s overdue notice.
The court reporter for the 331st District Court, Ms. Cathy Mata, is ordered to file the
reporter’s record no later than May 6, 2005.  See Tex. R. App. P. 35.3(b).  No further extension of
time will be granted.  See Tex. R. App. P. 37.3(a)(2).
It is ordered April 28, 2005.
&nbsp;
Before Chief Justice Law, Justices Patterson and Puryear
Do Not Publish


